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                              IN THE UNITED STATES BANUPTCY COURT

                                         FOR THE DISTRICT OF DELAWAR


In re:                                                              )           Chapter 11
                                                                    )
W. R. GRACE & CO., et aI.,                                          )           Case No. 01-01139 (JK)
                                                                    )           (Jointly Administered)
                                 Debtors.                           )


                                               CERTICATE OF SERVI~
                    I, James E. O'Neill, hereby certify that on the ( day of                        May, 2008, I caused a

copy of the following document to be served on the individuals on the attached service list in the

maner indicated:

                  Notice of                                                          Kirkland
                                  Twenty-Eighth Quarterly Interim Verifed Application of

                  & Ells LLP for Compensation for Services and Reimbursement of Expenses
                  as Bankruptcy Counsel to W.R. Grace & Co., et al., for the Interim Period
                  from January 1, 2008 through March 31, 2008.




91100-00 1 \DOCS_DE: 134674.14
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